                   IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA


CHEYENNE JONES and SARA J. GAST,           Case No: 3:20-cv-00654-FDW-DSC
Individually and as representatives of a
class of similarly situated persons, on
behalf of the COCA-COLA
CONSOLIDATED, INC. 401(K) PLAN,

             Plaintiffs,
        v.

COCA-COLA CONSOLIDATED, INC., THE
BOARD OF DIRECTORS OF COCA-COLA
CONSOLIDATED, INC., THE CORPORATE
BENEFITS COMMITTEE OF COCA-COLA
CONSOLIDATED, INC.; and DOES No. 1-20,
Whose Names Are Currently Unknown,

             Defendants.                   February 22, 2022



PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF UNOPPOSED MOTION
     FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT




   Case 3:20-cv-00654-FDW-DSC Document 88-1 Filed 02/22/22 Page 1 of 25
                                                    TABLE OF CONTENTS


Table of Authorities ........................................................................................................................ ii

THE BOTTOM LINE UP FRONT................................................................................................. 1

RELEVANT BACKGROUND ...................................................................................................... 2

STANDARD OF REVIEW ............................................................................................................ 5

ARGUMENT .................................................................................................................................. 6

           I.         Certification of a Settlement Class is Appropriate ................................................. 6

                      A.          The Settlement Class Satisfies Rule 23(a) ................................................. 6

                                  i.        Numerosity ...................................................................................... 6

                                  ii.       Commonality ................................................................................... 7

                                  iii.      Typicality ........................................................................................ 9

                                  iv.       Adequacy ....................................................................................... 10

                      B.         The Settlement Class Satisfies Rule 23(b)(1) ........................................... 11

                      C.         Miller Shah and Capozzi Adler Should be Appointed as Class
                                 Counsel ..................................................................................................... 12

           II.        The Settlement, Notice Plan, and Plan of Allocation Warrant Preliminary
                      Approval ............................................................................................................... 12

                      A.          The Settlement Should be Preliminarily Approved ................................. 13

                      B.         The Notice Plan Should be Preliminarily Approved ................................ 15

                      C.         The Plan of Allocation Should be Preliminarily Approved ...................... 16

CONCLUSION ............................................................................................................................. 16




                                     -i-
      Case 3:20-cv-00654-FDW-DSC Document 88-1 Filed 02/22/22 Page 2 of 25
                                               TABLE OF AUTHORITIES


                                                                                                                                Page(s)
Cases

Amchem Prods., Inc. v. Windsor,
 521 U.S. 591 (1997) .................................................................................................... 5, 6, 10, 11

Baltimore v. Laborers' Int'l Union of N. Am.,
 1995 WL 578084 (4th Cir. Oct. 2, 1995) .................................................................................... 7

Beach v. JPMorgan Chase Bank, N.A.,
  2019 WL 2428631 (S.D.N.Y. June 11, 2019) ........................................................................... 10

Brady v. Thurston Motor Lines,
  726 F.2d 136 (4th Cir. 1984) ....................................................................................................... 7

Clark v. Duke Univ.,
  2018 WL 1801946 (M.D.N.C. Apr. 13, 2018) ............................................................ 8, 9, 10, 11

Cunningham v. Cornell Univ.,
 2019 WL 275827 (S.D.N.Y. Jan. 22, 2019) ........................................................................ 7, 8, 9

DiFelice v. U.S. Airways, Inc.,
 235 F.R.D 70 (E.D. Va. 2006) ................................................................................................. 7, 8

Eisen v. Carlisle and Jacquelin,
  417 U.S. 156 (1974) .................................................................................................................. 15

Flinn v. FMC Corp.,
  528 F.2d 1169 (4th Cir. 1975) ................................................................................................... 13

Gaston v. LexisNexis Risk Solutions, Inc.,
 2021 WL 244807 (W.D.N.C. Jan. 25, 2021) ..................................................................... 5, 6, 13

Gould v. Alleco, Inc.,
 883 F.2d 281 (4th Cir. 1989) ..................................................................................................... 13

Horton v. Merrill Lynch, Pierce, Fenner & Smith, Inc.,
 855 F. Supp. 825 (E.D. N.C. 1994) ............................................................................... 12, 13, 14

In re Jiffy Lube Secs. Litig.,
  927 F.2d 155 (4th Cir. 1991) ................................................................................................. 5, 13

Krueger v. Ameriprise Fin., Inc.,
 304 F.R.D. 559 (D. Minn. 2014) ................................................................................................. 9


                                     -ii-
      Case 3:20-cv-00654-FDW-DSC Document 88-1 Filed 02/22/22 Page 3 of 25
Leber v. Citigroup 401(k) Plan Inv. Comm.,
  323 F.R.D. 145 (S.D.N.Y. 2017) ........................................................................................... 8, 10

Lienhart v. Dryvit Systems, Inc.,
  255 F.3d 138 (4th Cir.2001) ........................................................................................................ 7

Moreno v. Deutsche Bank Am. Holding Corp.,
 2017 WL 3868803 ................................................................................................................. 8, 11

Mullane v. Central Hanover Bank and Trust Co.,
 339 U.S. 306 (1950) .................................................................................................................. 14

Ortiz v. Fibreboard Corp.,
 527 U.S. 815 (1999) .................................................................................................................. 12

Mass Mut. Life Ins. Co. v. Russell,
 473 U.S. 134 (1985) .................................................................................................................. 10

Sacerdote v. New York Univ.,
  2018 WL 840364 (S.D.N.Y. Feb. 13, 2018) ............................................................................... 9

Surowitz v. Hilton Hotels Corp.,
  383 U.S. 363 (1966) .................................................................................................................. 11

Tatum v. R.J. Reynolds Tobacco Co.,
  254 F.R.D. 59 (M.D.N.C. 2008) .......................................................................................... 6, 7, 9

Wal-Mart Stores, Inc. v. Dukes,
 564 U.S. 338 (2011) ............................................................................................................ 7, 8, 9

West v. Continental Auto., Inc.,
 2018 WL 1146642 (W.D.N.C. Feb. 5, 2018) ........................................................................ 5, 12

West v. Continental Automotive, Inc.,
 2017 WL 2470633 (W.D.N.C. June 7, 2017) .............................................................................. 7

Statutes

29 U.S.C. § 1104(a)(1).................................................................................................................... 8

29 U.S.C. §§ 1109(a), 1132(a)(2) ................................................................................................. 10

Rules

Fed. R. Civ. P. 23(a) .............................................................................................................. passim



                                    -iii-
      Case 3:20-cv-00654-FDW-DSC Document 88-1 Filed 02/22/22 Page 4 of 25
Fed. R. Civ. P. 23(b) .............................................................................................................. passim

Fed. R. Civ. P. 23(c) ..................................................................................................................... 14

Fed. R. Civ. P. 23(e) ........................................................................................................... 5, 14, 15

Fed. R. Civ. P. 23(g) ..................................................................................................................... 12




                                     -iv-
      Case 3:20-cv-00654-FDW-DSC Document 88-1 Filed 02/22/22 Page 5 of 25
       Plaintiffs, Cheyenne Jones and Sara J. Gast (collectively, “Plaintiffs”), on behalf of the

proposed Settlement Class and the Coca-Cola Consolidated, Inc. 401(k) Plan (the “Plan”),

respectfully submit this Memorandum of Law in Support of their Unopposed Motion for

Preliminary Approval of Class Action Settlement (the “Motion”), requesting the Court issue an

Order that: (1) preliminarily approves the Settlement Agreement dated February 22, 2022 with

Defendants, Coca-Cola Consolidated, Inc. (“Consolidated”), the Coca-Cola Consolidated, Inc.

Board of Directors, and the Corporate Benefits Committee of Coca-Cola Consolidated, Inc.

(collectively, “Defendants” and with Plaintiffs, the “Parties”); 1 (2) preliminarily certifies the

proposed Settlement Class; (3) approves the proposed notice plan (“Notice Plan”) in the

Settlement Agreement and proposed Preliminary Approval Order; and (4) sets a final approval

hearing on a date convenient for the Court at least 110 days after the entry of the proposed

Preliminary Approval Order.

                               THE BOTTOM LINE UP FRONT

       The Parties have agreed to a proposed settlement (“Settlement”) of this ERISA action for

total relief of $3,500,000.00, as well as certain non-monetary terms, which will provide a

substantial recovery to members of the Settlement Class. 2 In light of the substantial Settlement

recovery and the risks of continued litigation, Class Counsel believe the Settlement is fair,

reasonable, adequate, and in the best interests of the Settlement Class.


1
 The Settlement Agreement and its exhibits are attached to the accompanying Declaration of
Laurie Rubinow. Terms not defined herein shall have the same meaning as in the Settlement
Agreement.
2
 “Settlement Class” means all participants and beneficiaries of the Plan, at any time during the
Class Period, including any beneficiary of a deceased person who was a participant in the Plan at
any time during the Class Period, and any Alternate Payees, in the case of a person subject to a
QDRO who was a participant in the Plan at any time during the Class Period. The Class shall
exclude all Defendants. See Settlement Agreement, § 1.10.


                                   -1-
    Case 3:20-cv-00654-FDW-DSC Document 88-1 Filed 02/22/22 Page 6 of 25
       Plaintiffs and Class Counsel have vigorously pursued relief on behalf of the Plan. The

Parties agreed to the Settlement after extensive motion practice, discovery, and arm’s-length

negotiations by experienced counsel, including at a private mediation session with an

experienced mediator. Resolving the Action at this juncture allows the Parties to avoid

continued and costly litigation that would deplete resources which could otherwise be used for

the resolution of the Action, and which could result in a recovery less than that provided by the

Settlement, or no recovery at all.

       As set forth below, all prerequisites for preliminary approval of the Settlement, as well as

preliminary certification of the Settlement Class, are satisfied. As such, Plaintiffs’ Motion

should be granted and notice should be provided to the Participants in accordance with the

proposed notice plan (“Notice Plan”).

                                 RELEVANT BACKGROUND

       Plaintiffs allege that Defendants are fiduciaries of the Plan and breached duties owed to

the Plan and its participants and beneficiaries by: (1) selecting and retaining imprudent

investments in the Plan; (2) causing the Plan to pay unreasonable investment management fees;

and (3) causing the Plan to pay unreasonable recordkeeping and administrative fees. See

Compl., ECF No. 1, ¶¶ 23-55. Plaintiffs’ allegations are set forth in full in the Complaint, which

Plaintiffs filed on November 24, 2020. Defendants moved to dismiss on January 14, 2021 (ECF

No. 14). The Court denied Defendants’ motion to dismiss (ECF No. 25) and discovery

commenced in earnest.

       The Parties have engaged in significant discovery efforts, including the exchange of

discovery requests and production of more than 30,000 pages of documents related to Plan

administration and Defendants’ alleged conduct. See Rubinow Decl., ¶ 6. Defendants have




                                   -2-
    Case 3:20-cv-00654-FDW-DSC Document 88-1 Filed 02/22/22 Page 7 of 25
taken Plaintiffs’ depositions, and Plaintiffs have taken depositions of numerous fact witnesses

and sought discovery from third parties. See id. In addition, the Parties exchanged expert

reports related to issues of liability and damages. See id.

       Plaintiffs moved for class certification, which Defendants opposed. The Parties

submitted expert declarations and conducted fact and expert depositions in connection with their

briefing on Plaintiffs’ motion for class certification. The Parties engaged in additional motion

practice concerning the expert opinions and testimony offered in connection with Plaintiffs’

motion for class certification.

       While Plaintiffs’ motion for class certification was pending and the Parties continued fact

and expert discovery, they initiated discussions concerning the possibility of a negotiated

resolution to the Action. As part of those discussions, the Parties communicated their positions

regarding the merits of Plaintiffs’ claims and Defendants’ defenses, and the potential associated

damages. The Parties held a mediation session with Robert A. Meyer, Esquire of JAMS, a well-

respected neutral mediator who is experienced in mediating claims of the kind at issue in the

Action. The Parties exchanged briefs prior to the mediation and additional information

following the mediation session. The Parties reached an agreement in principle to resolve the

Action on January 18, 2022 and worked to document the same in the Settlement Agreement.

       The Settlement provides that, in exchange for dismissal of the Action and a release of

claims, Defendants will make payment in an aggregate amount of $3,500,000.00 into a Qualified

Settlement Fund to be allocated to participants, Former Participants, Beneficiaries, and Alternate

Payees of the Plan pursuant to the Plan of Allocation. See Settlement Agreement, §§ 1.37, 3.2;

see also Rubinow Decl., Ex. C. The Settlement Agreement and the proposed Preliminary

Approval Order set forth the Notice Plan, and describe Plaintiffs’ anticipated requests for




                                   -3-
    Case 3:20-cv-00654-FDW-DSC Document 88-1 Filed 02/22/22 Page 8 of 25
payment of attorneys’ fees and litigation expenses to Class Counsel, and for case contribution

awards to Plaintiffs, all of which are subject to the Court’s approval. See Settlement Agreement,

§§ 2.8, 7.1, 7.2; see also Rubinow Decl., Ex. D. In addition, the Settlement Agreement provides

for the approval of the Settlement by an Independent Fiduciary. See Settlement Agreement, §

2.6.

         The Parties respectfully request that the Court schedule a Fairness Hearing, at or after

which the Court will be asked to make a determination as to whether the Settlement is fair,

reasonable, and adequate, and merits final approval. Plaintiffs propose the following schedule

associated with the Notice Plan and Fairness Hearing:

              Event                   Reference to                  Proposed Deadline
                                      Preliminary
                                     Approval Order
 Preliminary approval hearing                             If the Court deems necessary, March 24,
                                                          2022 (or a date convenient for the Court
                                                          within 30 days of the preliminary
                                                          approval filing)

 Settlement Administrator to        ¶8                    Within 45 days of entry of Preliminary
 set up settlement website and                            Approval Order
 toll-free number
 Send Settlement Notice and         ¶8                    Within 45 days of entry of Preliminary
 Former Participant Claim                                 Approval Order
 Form to Class Members
 Final approval papers and fee      ¶9                    45 days before Fairness Hearing
 request

 Independent Fiduciary report       Settlement            Not later than 30 days before the
                                    Agreement ¶ 2.6       Fairness Hearing

 Deadline for filing of             ¶ 11                  On or before 30 days before the Fairness
 objections                                               Hearing




                                      -4-
       Case 3:20-cv-00654-FDW-DSC Document 88-1 Filed 02/22/22 Page 9 of 25
    Deadline for Parties to          ¶ 11                  Not later than 7 days before Fairness
    respond to objections or file                          Hearing
    any additional papers in
    support of Settlement

    Fairness Hearing                 ¶6                    On a date convenient for the Court no
                                                           sooner than 110 days after the date the
                                                           motion for entry of the Preliminary
                                                           Approval Order is filed

                                     STANDARD OF REVIEW
          Under Federal Rule of Civil Procedure 23, when the Court is presented with a proposed

settlement, it must determine whether the proposed settlement class satisfies the requirements for

class certification. See Gaston v. LexisNexis Risk Solutions, Inc., 2021 WL 244807, at *5

(W.D.N.C. Jan. 25, 2021). Class certification under Rule 23 has two primary components: a

proposed class must meet the four requirements of Rule 23(a) and the requirements of at least

one subsection of Rule 23(b). See Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 613-14

(1997); Fed. R. Civ. P. 23.

          In addition, at the preliminary approval stage, the Court must evaluate the fairness,

reasonableness, and adequacy of the settlement terms. See Gaston, 2021 WL 244807, at *5

(citing Fed. R. Civ. P. 23(e)(2)). “The Fourth Circuit has bifurcated this analysis into

consideration of the fairness of settlement negotiations and the adequacy of the consideration to

the class.” Id. (citing In re Jiffy Lube Secs. Litig., 927 F.2d 155, 158-59 (4th Cir. 1991). “In

undertaking this analysis, the Court is mindful of the strong judicial policy in favor of

settlements, particularly in the class action context.” West v. Continental Auto., Inc., 2018 WL

1146642, at *3 (W.D.N.C. Feb. 5, 2018) (Whitney, J.) (internal citations and quotation marks

omitted). 3 Accordingly, “at the preliminary approval stage, the Court need only find that the


3
 At final approval, the Court will evaluate the Settlement in light of certain factors identified by
the Fourth Circuit: (1) the posture of the case at the time settlement was proposed, (2) the extent


                                     -5-
      Case 3:20-cv-00654-FDW-DSC Document 88-1 Filed 02/22/22 Page 10 of 25
settlement is within ‘the range of possible approval.’” Gaston, 2021 WL 244807, at *5 (citation

omitted) (collecting cases).

                                           ARGUMENT
I.     CERTIFICATION OF A SETTLEMENT CLASS IS APPROPRIATE

       “Confronted with a request for settlement-only class certification, a district court need not

inquire whether the case, if tried, would present intractable management problems . . . for the

proposal is that there be no trial.” Amchem, 521 U.S. at 620. Even setting aside the less

stringent inquiry relevant here, the Fourth Circuit has recognized that classes of plan participants

and beneficiaries are regularly certified. See Tatum v. R.J. Reynolds Tobacco Co., 254 F.R.D.

59, 67 (M.D.N.C. 2008) (citation omitted) (characterizing ERISA litigation as a “paradigmatic

example of a [Rule 23](b)(1)] class.”).

           A. The Settlement Class Satisfies Rule 23(a)

       The requirements of Rule 23(a) are commonly referred to as numerosity, commonality,

typicality, and adequacy of representation. See Amchem, 521 U.S. at 613. Plaintiffs and the

proposed Class satisfy each of the Rule 23(a) prerequisites.

                    i. Numerosity

       The numerosity requirement of Rule 23 requires that a putative class must be “so

numerous that joinder of all members is impracticable.” Fed. R. Civ. P. 23(a)(1). Practicability

of joinder depends on various factors, such as “the size of the class, ease of identifying its



of discovery that had been conducted, (3) the circumstances surrounding the negotiations, (4) the
experience of counsel in the area, (5) the relative strength of the plaintiffs' case on the merits, (6)
the existence of any difficulties of proof or strong defenses the plaintiffs are likely to encounter if
the case goes to trial, (7) the anticipated duration and expense of additional litigation, (8) the
solvency of the defendants and the likelihood of recovery on a litigated judgment, and (9) the
degree of opposition to the settlement. See West, 2018 WL 1146642, at *4 (citing Jiffy Lube, 927
F.2d at 159). While the Court need not reach final determinations regarding these factors at this
juncture, even a preliminary review of these factors reveals that the settlement warrants approval.


                                    -6-
     Case 3:20-cv-00654-FDW-DSC Document 88-1 Filed 02/22/22 Page 11 of 25
members and determining their addresses, facility of making service on them if joined and their

geographic dispersion.” Baltimore v. Laborers' Int'l Union of N. Am., 1995 WL 578084, at *1

(4th Cir. Oct. 2, 1995). While no specific number is needed to maintain a class action, courts in

this Circuit have routinely found the numerosity requirement satisfied where a proposed class

has dozens or hundreds of members -- let alone thousands, as is the case here. See Brady v.

Thurston Motor Lines, 726 F.2d 136, 145 (4th Cir. 1984); Tatum, 254 F.R.D. at 64 (collecting

cases). Indeed, this Court has found the numerosity requirement satisfied where a proposed class

was comprised of 60 members. See West v. Continental Automotive, Inc., 2017 WL 2470633, at

*1 (W.D.N.C. June 7, 2017) (Whitney, J.). Thus, the proposed Class easily meets Rule 23(a)’s

numerosity requirement.

                   ii. Commonality

       The commonality prerequisite of Rule 23 requires that “there are questions of law or fact

common to the class.” Fed. R. Civ. P. 23(a)(2). Commonality involves “the capacity of a class[-

]wide proceeding to generate common answers apt to drive resolution of the litigation.” Wal-

Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011) (internal quotations omitted). This occurs

when there is at least one common question, the determination of which “will resolve an issue

that is central to the validity of each one of the claims in one stroke.” Id. Courts in this Circuit

find the commonality prerequisite satisfied where “common questions are dispositive and

overshadow other issues.” DiFelice v. U.S. Airways, Inc., 235 F.R.D. 70, 78 (E.D. Va. 2006)

(citing Lienhart v. Dryvit Systems, Inc., 255 F.3d 138, 146 (4th Cir.2001)).

       Plaintiffs have argued that actions involving alleged breaches of fiduciary duty under

ERISA §§ 409 and 502(a)(2) involve legal and factual questions that are inherently common to

all participants and beneficiaries of a plan. Plaintiffs here are “bringing suit on behalf of

participants in the Plan [], the centralized administration of which is common to all class


                                   -7-
    Case 3:20-cv-00654-FDW-DSC Document 88-1 Filed 02/22/22 Page 12 of 25
members.” Cunningham v. Cornell Univ., 2019 WL 275827, at *5 (S.D.N.Y. Jan. 22, 2019).

“Because the fiduciary duties are owed to the [Plan] . . . common questions of law and fact are

central to the case.” Id.; see 29 U.S.C. § 1104(a)(1) (“a fiduciary shall discharge his duties with

respect to a plan”) (emphasis added).

        The core questions in this Action are common to all Plan participants and include inter

alia: (i) whether Defendants breached their alleged fiduciary duties by maintaining the Fidelity

Freedom funds and other challenged investments in the Plan; (ii) whether Defendants breached

their alleged fiduciary duties by causing the Plan to incur excessive recordkeeping and

administrative fees; (iii) whether the Plan suffered resulting losses; (iv) the manner in which to

calculate the Plan’s losses; and (v) what equitable relief, if any, is appropriate in light of these

alleged breaches. See Clark v. Duke Univ., 2018 WL 1801946, at *5 (M.D.N.C. Apr. 13, 2018);

see also DiFelice, 235 F.R.D. at 78 (finding commonality met because “the central question in

this litigation is whether U.S. Airways breached its fiduciary duty to select and monitor

investment options prudently.”). While a single common question is sufficient to meet this

standard, the common questions here are numerous. See Wal-Mart, 564 U.S. at 359. Since the

critical issues in this litigation involve the acts and omissions of Defendants, “they are common

to all Plan participants who might bring an action on behalf of the Plan.” DiFelice, 235 F.R.D. at

78.

        The evidence required to answer the central contentions in the Action is plan-level and,

consequently, common to all of the Plan’s participants. If the evidence shows that Defendants

breached their alleged fiduciary duties, “it would not only generate answers applicable to all

class members, but would also address the heart of the claims at issue in this litigation.” Leber v.

Citigroup 401(k) Plan Inv. Comm., 323 F.R.D. 145, 160 (S.D.N.Y. 2017). These answers do not




                                     -8-
      Case 3:20-cv-00654-FDW-DSC Document 88-1 Filed 02/22/22 Page 13 of 25
depend on the particular circumstances of any individual participant because, in ERISA fiduciary

breach actions, “liability is determined based on Defendants’ not Plaintiff[’s] decisions.”

Moreno v. Deutsche Bank Am. Holding Corp., 2017 WL 3868803, at *5. The questions of law

and fact in the Action are, by their nature, common to each member of the proposed Class, as the

central allegations concern Defendants’ administration of the Plan and Defendants’ duties and

conduct ran to the Plan. See Sacerdote v. New York Univ., 2018 WL 840364, at *3 (S.D.N.Y.

Feb. 13, 2018). Since the central allegations here concern Defendants’ administration of the

Plan, common questions pervade the Action.

                  iii. Typicality

       The typicality prerequisite of Rule 23 requires that the claims of the representative

plaintiffs be typical of the claims of the class. See Fed. R. Civ. P. 23(a)(3). “The typicality

requirement is met where the claims asserted by the named plaintiffs arise from the same course

of conduct and are based on the same legal theories as the claims of the unnamed class

members.” Clark, 2018 WL 1801946 at *5 (quoting Tatum, 254 F.R.D. at 65). Typicality is

satisfied here for many of the same reasons as commonality. See Wal-Mart, 564 U.S. at 349 n.5

(explaining that the commonality and typicality inquiries “tend to merge”).

       Plaintiffs bring this Action on behalf of the Plan, such that “[a]ny recovery of lost

benefits will go the Plan and will be held, allocated, and ultimately distributed in accordance

with the requirements of the Plan and ERISA.” Tatum, 254 F.R.D. at 66. Courts routinely find a

participant’s fiduciary breach claim to be typical of the claims of all participants in a plan. See

Cunningham, 2019 WL 275827, at *7 (typicality requirement met where plaintiffs “sufficiently

alleged that the defendants’ failure to manage the Plans affected all proposed members of the

class.”); Sacerdote, 2018 WL 840364, at *3 (noting that analysis of the typicality factor is similar

to the commonality analysis and finding because “[e]ach named plaintiff is asserting a claim on


                                  -9-
   Case 3:20-cv-00654-FDW-DSC Document 88-1 Filed 02/22/22 Page 14 of 25
behalf of the Plans . . . [t]he adjudication of the breach of fiduciary duty claims will not turn on

any individual class member’s circumstance.”); Krueger v. Ameriprise Fin., Inc., 304 F.R.D.

559, 573 (D. Minn. 2014) (typicality met for fiduciary breach claims because named plaintiffs

and class members sought “redress of similar grievances under the same legal and remedial

theories.”). The circumstances in this Action, in which Plaintiffs allege fiduciary breaches

arising out of Defendants’ management and administration of the Plan, are no exception.

       Defendants’ alleged Plan-wide conduct at issue in the Action, employing an allegedly

“disloyal and imprudent process for selecting, administering and monitoring the Plan’s

recordkeepers and investments,” is of a kind routinely found to support determinations of

typicality. Clark, 2018 WL 1801946 at *5. Likewise, the remedial theory asserted by Plaintiffs

here is identical among all members of the Class. See id. In sum, Plaintiffs’ claims on behalf of

the Plan are typical of all Class members’ claims.

                   iv. Adequacy

       Representative plaintiffs must also show that they will “fairly and adequately protect the

interests of this class.” Fed. R. Civ. P. 23(a)(4). This inquiry “serves to uncover conflicts of

interest between named parties and the class they seek to represent” and “evaluate competency

and conflicts of class counsel.” Clark, 2018 WL 1801946, at *7 (quoting Amchem, 521 U.S. at

625, n.20).

       Plaintiffs’ interests are tightly aligned with all other members of the Settlement Class by

virtue of the very nature of the claims that Plaintiffs bring. Plaintiffs, acting in a representative

capacity, seek to enforce the duties that Defendants owed to the Plan and to recover damages and

equitable relief due. See 29 U.S.C. §§ 1109(a), 1132(a)(2); Mass Mut. Life Ins. Co. v. Russell,

473 U.S. 134, 142 n.9 (1985). “The general rule that there is ‘a relatively low likelihood of intra-

class conflicts in cases of excessive fee claims’ because the recovery is to the Plan, not to


                                   -10-
    Case 3:20-cv-00654-FDW-DSC Document 88-1 Filed 02/22/22 Page 15 of 25
individual Plaintiffs, holds true here.” Beach v. JPMorgan Chase Bank, N.A., 2019 WL

2428631, at *8 (S.D.N.Y. June 11, 2019) (quoting Leber, 323 F.R.D., at 164). Since Plaintiffs

are pursuing claims on behalf of the Plan, there are no conflicts between Plaintiffs’ individual

interests and the interests of the Class. Indeed, Plaintiffs and Class members all share the same

objectives, the same factual and legal positions, and the same interest in establishing Defendants’

liability. See Moreno, 2017 WL 3868803, at *7; see also West, 2018 WL 1146642 at *5

(“[T]here is no evidence of a direct conflict of interests between named Plaintiffs and the class

they seek to represent.”).

       A class representative needs only a basic understanding of the claims and a willingness to

participate in the case, requirements that Plaintiffs easily surpass. See Surowitz v. Hilton Hotels

Corp., 383 U.S. 363, 373 (1966). Plaintiffs have demonstrated their commitment to pursuing

this Action on behalf of the Settlement Class and have achieved a very favorable result, which

does not favor any member of the Settlement Class at the expense of others. See Rubinow Decl.,

at ¶ 3. Plaintiffs clearly have, and will continue to, adequately represent all members of the

Settlement Class. In addition, Plaintiffs have retained qualified and competent counsel, whose

adequacy is discussed in greater detail below.

           B. The Settlement Class Satisfies Rule 23(b)(1)

       In addition to Rule 23(a), Plaintiffs need only satisfy one subsection of Rule 23(b). See

Amchem, 521 U.S. at 613-14. Courts routinely grant certification under Rule 23(b)(1) in ERISA

fiduciary breach cases. This is because “[s]eparate actions over whether the defendants’

investment procedures and management methods violated their fiduciary duties could result in

decisions that place incompatible requirements on the defendants in terms of either the losses

that defendants would have to pay back to the Plan,” and “individual adjudications would be

dispositive of the interests of the other participants not parties to the individual adjudications,


                                   -11-
    Case 3:20-cv-00654-FDW-DSC Document 88-1 Filed 02/22/22 Page 16 of 25
because the claims concern the same actions in managing the Plan and because damages are

owed to the Plan as a whole and not individual plaintiffs.” Clark, 2018 WL 1801946, at *9.

This finds root in trust law, as a suit alleging a breach of trust by a trustee or other fiduciary

affecting the members of a large class of beneficiaries requiring an accounting or similar

procedure to restore the subject of the trust is a classic example of the Rule 23(b)(1)(B) action.

See Ortiz v. Fibreboard Corp., 527 U.S. 815, 834 (1999). Plaintiffs’ claims on behalf of the Plan

are no exception.

            C. Miller Shah and Capozzi Adler Should be Appointed as Class Counsel

        In appointing Class Counsel, this Court should consider the Rule 23(g)(1)(A) factors:

        (i) the work counsel has done in identifying or investigating potential claims in this
        action; (ii) counsel’s experience in handling class actions, other complex litigation,
        and the types of claims asserted in the action; (iii) counsel’s knowledge of the
        applicable law; and (iv) the resources counsel will commit to representing the class.

Fed. R. Civ. P. 23(g)(1)(A). Proposed Class Counsel, Miller Shah LLP (“Miller Shah”) and

Capozzi Adler, P.C. (“Capozzi”) are exceedingly qualified under these factors. See Rubinow

Decl., ¶¶ 5, 7. To date, Class Counsel have leveraged their experience and resources to

vigorously pursue recovery on behalf of the Plan and protect the interests of all Class Members,

including inter alia comprehensively investigating the claims forming the basis of the Action,

filing detailed pleadings, briefing several motions, and significantly engaging in the discovery

process. Id., at 5, 7, 9. Class Counsel will continue to leverage their deep experience and

resources on behalf of the Settlement Class. The Court should appoint Miller Shah and Capozzi

as Class Counsel.

II.     THE SETTLEMENT, NOTICE PLAN, AND PLAN OF ALLOCATION
        WARRANT PRELIMINARY APPROVAL

        The first step in approving any proposed settlement in a class action is preliminary

approval. See Horton v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 855 F. Supp. 825, 827


                                     -12-
      Case 3:20-cv-00654-FDW-DSC Document 88-1 Filed 02/22/22 Page 17 of 25
(E.D. N.C. 1994). At this stage, the Court reviews the proposed settlement to determine whether

it is sufficient to warrant public notice and a hearing. See Id. As this Court has recognized, the

analysis begins with “the unassailable premise that settlements are to be encouraged.” West,

2018 WL 1146642, at *4 (quoting Gould v. Alleco, Inc., 883 F.2d 281, 284 (4th Cir. 1989), cert.

denied, 493 U.S. 1058 (1990)).

           A. The Settlement Should be Preliminarily Approved

       There is a strong initial presumption that a proposed class action settlement is fair and

reasonable when it is the result of arm’s-length negotiations. See Gaston, 2021 WL 244807, at

*6; Horton, 855 F. Supp. at 830. As described above, the Settlement is the product of a lengthy

arm’s-length process under the auspices of an experienced neutral mediator. Further, Class

Counsel and Defendants’ counsel are experienced in ERISA litigation and each had a thorough

understanding of the factual and legal issues through the significant fact and expert discovery

exchanged, which the Fourth Circuit has recognized as a factor weighing in favor of settlement

approval. See Flinn v. FMC Corp., 528 F.2d 1169, 1173 (4th Cir. 1975); see also Gaston, 2021

WL 244807, at *6 (“the opinion of experienced and informed counsel in favor of settlement

should be afforded due consideration in determining whether a class settlement is fair and

adequate.”).

       Class Counsel conducted substantial investigation and analysis of tens of thousands of

pages of documents, and conducted depositions of Defendants’ corporate representative, fact

witnesses, and third parties. See Rubinow Decl., at ¶¶ 6-8. In addition, Class Counsel engaged

experts to conduct analyses relevant to issues of liability and damages based on the record and

their significant experience in the retirement plan industry. See id. Thus, Class Counsel has

extensively developed Plaintiffs’ claims on behalf of the Plan and Settlement Class. See Horton,

855 F. Supp. at 829-30; see also Jiffy Lube, 927 F.2d at 157-58. The Parties were engaged in


                                  -13-
   Case 3:20-cv-00654-FDW-DSC Document 88-1 Filed 02/22/22 Page 18 of 25
vigorous litigation when they agreed to the Settlement and continued litigation promised to be

lengthy and complex, involving numerous competing experts on issues of liability going to

Plaintiffs’ claims and Defendants’ defenses, as well as the Plan’s alleged losses. The Parties

likely would have filed dispositive motions and pretrial motions, including motions concerning

the anticipated expert testimony. Thus, Plaintiffs faced meaningful challenges to their ability to

obtain a recovery on behalf of the Plan, even setting aside the additional complexity and delay of

likely appeals, which strongly supports preliminary approval of the Settlement. See Horton, 855

F. Supp. at 831 (“Perhaps the most important factor in evaluating the adequacy of a class action

settlement is the relative strengths of plaintiffs’ case and the existence of any defenses or

difficulties of proof.”).

        Class Counsel has significant experience in class action litigation generally and ERISA

breach of fiduciary duty litigation in particular, and are of the opinion that the Settlement is fair

and reasonable. See id. (“the experience of class counsel warrants affording their judgment

appropriate deference in determining whether to approve the proposed settlement.”). The

Settlement provides a substantial monetary recovery of $3,500,000.00 as well as meaningful

non-monetary relief related to the ongoing management and administration of the Plan. Further,

the Parties will submit the Settlement to an independent fiduciary, which will provide an opinion

on the Settlement’s fairness before the final fairness hearing.

        In sum, the Settlement is the product of vigorous litigation and arm’s-length negotiation

by experienced and well-informed counsel, and provides significant relief to the Settlement

Class. Accordingly, the Court should find the Settlement is fair, reasonable, and adequate and

merits preliminary approval.




                                   -14-
    Case 3:20-cv-00654-FDW-DSC Document 88-1 Filed 02/22/22 Page 19 of 25
           B. The Notice Plan Should be Preliminarily Approved

       In addition to preliminarily approving the proposed Settlement, the Court must approve

the proposed means of notifying Settlement Class members. See Fed. R. Civ. P. 23(c)(2). Due

process and Rule 23(e) do not require that each Class Member receive notice, but require that the

class notice be “reasonably calculated, under the circumstances, to apprise interested parties of

the pendency of the action and afford them an opportunity to present their objections.” Mullane

v. Central Hanover Bank and Trust Co., 339 U.S. 306, 314 (1950). “Individual notice must be

provided to those class members who are identifiable through reasonable effort.” Eisen v.

Carlisle and Jacquelin, 417 U.S. 156, 175 (1974).

       The Notice Plan is designed to reach the largest number of Settlement Class members

possible. Indeed, the Settlement Notice will be sent by email and/or first-class mail to the last

known address of each Settlement Class member prior to the Fairness Hearing. Notably, all

Settlement Class members had Plan accounts, so the Plan’s recordkeeper has their addresses and

other identifying information. Additionally, the Notice, Settlement Agreement, and other

litigation documents will be posted on a website established by the Settlement Administrator,

and the Settlement Administrator will establish and monitor a toll-free number to field inquiries

by Settlement Class members. The Notice will also provide Class Counsels’ contact

information.

       The Notice Plan satisfies all due process considerations and meets the requirements of

Rule 23(e). It clearly describes: (i) the terms and operation of the Settlement; (ii) the nature and

extent of the Released Claims; (iii) the maximum attorneys’ fees, litigation expenses, and case

contribution awards that may be sought; (iv) the procedure and timing for objections; and (v)

subject to the Court’s schedule, the date and location of the Fairness Hearing.




                                  -15-
   Case 3:20-cv-00654-FDW-DSC Document 88-1 Filed 02/22/22 Page 20 of 25
            C. The Plan of Allocation Should be Preliminarily Approved

       The Plan of Allocation provides recovery to members of the Settlement Class on a pro

rata basis, with no preferential treatment for the Class Representatives or any segment of the

Settlement Class. This is substantially similar to plans approved by courts in analogous ERISA

litigation. See, e.g., Terraza v. Safeway Inc., No. 16-cv-03994-JST, Dkt. 268 (N.D. Cal. Sept. 8,

2020) (“Settlement Scores will be determined by calculating the Class Member’s year-end

account balance during the Class Period and dividing that amount by the total sum of year-end

asset amounts in the Plan during the Class Period . . . .”). In light of the equitable treatment of

Class Members, the Court should find that the Plan of Allocation is also fair, reasonable, and

adequate.

                                          CONCLUSION
       Plaintiffs respectfully submit that this Court should preliminarily approve the Settlement,

Notice Plan, and Plan of Allocation, preliminarily certify the Settlement Class, and set a date for

a final fairness hearing.

DATED: February 22, 2022                               Respectfully submitted,

                                                       /s/ Alec J. Berin
                                                       James C. Shah
                                                       Alec J. Berin
                                                       MILLER SHAH LLP
                                                       1845 Walnut Street, Suite 806
                                                       Philadelphia, PA 19103
                                                       Telephone: (866) 540-5505
                                                       Facsimile: (866) 300-7367
                                                       Email: jcshah@millershah.com
                                                               ajberin@millershah.com




                                   -16-
    Case 3:20-cv-00654-FDW-DSC Document 88-1 Filed 02/22/22 Page 21 of 25
                                     James E. Miller
                                     Laurie Rubinow
                                     MILLER SHAH LLP
                                     65 Main Street
                                     Chester, CT 06412
                                     Telephone: (866) 540-5505
                                     Facsimile: (866) 300-7367
                                     Email: jemiller@millershah.com
                                            lrubinow@millershah.com

                                     Kolin C. Tang
                                     MILLER SHAH LLP
                                     201 Filbert Street, Suite 201
                                     San Francisco, CA 94133
                                     Telephone: (866) 540-5505
                                     Facsimile: (866) 300-7367
                                     Email: kctang@millershah.com

                                     Mark K. Gyandoh
                                     Gabrielle Kelerchian
                                     CAPOZZI ADLER, P.C.
                                     312 Old Lancaster Road
                                     Merion Station, PA 19066
                                     Telephone: (610) 890-0200
                                     Facsimile: (717) 233-4103
                                     Email: markg@capozziadler.com
                                            gabriellek@capozziadler.com

                                     Donald R. Reavey
                                     CAPOZZI ADLER, P.C.
                                     2933 North Front Street
                                     Harrisburg, PA 17110
                                     Telephone: (717) 233-4101
                                     Facsimile: (717) 233-4103
                                     Email: donr@capozziadler.com

                                     Daniel K. Bryson
                                     Jeremy R. Williams
                                     MILBERG COLEMAN BRYSON
                                     PHILLIPS GROSSMAN PLLC
                                     900 W. Morgan Street
                                     Raleigh, NC 27603
                                     Telephone: (919) 600-5017
                                     Facsimile: (919) 600-5035
                                     Email: dbryson@milberg.com
                                            jwilliams@milberg.com



                               -17-
Case 3:20-cv-00654-FDW-DSC Document 88-1 Filed 02/22/22 Page 22 of 25
                                     Attorneys for Plaintiffs, the Plan and the
                                     Proposed Settlement Class




                               -18-
Case 3:20-cv-00654-FDW-DSC Document 88-1 Filed 02/22/22 Page 23 of 25
                  CERTIFICATE OF COMPLIANCE WITH WORD COUNT
          I certify that this Memorandum complies with the page and type requirements under

Local Rule 7.1 and the Court’s Case Management Order because it is less than 25 pages double-

spaced.

                                                     /s/ Alec J. Berin
                                                     Alec J. Berin




   Case 3:20-cv-00654-FDW-DSC Document 88-1 Filed 02/22/22 Page 24 of 25
                                    CERTIFICATE OF SERVICE

       I hereby certify that on February 22, 2022, I electronically filed the foregoing Plaintiffs’

Memorandum in Support of Unopposed Motion for Preliminary Approval of Class Action

Settlement with the Clerk of Court, and upon the counsel of record using the CM/ECF system.

                                                     /s/ Alec J. Berin
                                                     Alec J. Berin




   Case 3:20-cv-00654-FDW-DSC Document 88-1 Filed 02/22/22 Page 25 of 25
